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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                           (Southern Division)

      GLADYS LAMPKINS
      1720 Corcoran Street, Apt. 73
      Washington, DC 20002

                      Plaintiff

             v.                                               Civil Action No. A W 12-cv-3419

      RAMAN TULI, M.D., et aI.
      10818 Darnestown Road, Suite 202
      Gaithersburg,  Maryland 20878

                      Defendants

          STIPULATION         OF DISMISSAL OF DEFENDANTS RAMAN TULI, M.D. AND
                              RAMAN TULI, M.D., p.e, WITH PREJUDICE

              Come now the parties, Plaintiff Gladys Lampkins and Defendants Raman Tuli, M.D.

      and Raman Tuli, MD, PC, by and through their undersigned counsel, and pursuant to Federal

      Rule of Civil Procedure 41 (a)(l)(A)(ii),   hereby stipulate and voluntarily agree that all claims,

      actions and causes of action against Defendants Raman Tuli, M.D. and Raman Tuli, M.D.,

      P.c., shall be DISMISSED      WITH PREJUDICE.

              It is so stipulated this 23rd day of December, 2014.




      DUGAN, BABIJ & TOLLEY,LLC                           ARMSTRONG,DONOHUE,CEPPOS,
                                                          VAUGHAN& RHOADES,CHARTERED

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~::tlaim(ff                                               Attorney for Raman Tuli, MD. and
                                                          Raman Tuli, MD., P.e.


?aul W. Grimm
United States District Judge
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                                   CERTIFICATE      OF SERVICE

         I hereby certify that on this 23rd day of December, 2014, a copy of the foregoing was
 electronically filed and sent via email to:

 Henry E. Dugan, Jr., Esquire #01320
 Allison D. Kohler, Esquire #01277
 DUGAN, BASIl & TOLLEY, LLC
 1966 Greenspring Drive, Suite 500
 Timonium, Maryland 20192


                                               lsi Jon Eric Rhoades
                                             Jon Eric Rhoades, Esquire #12605
